       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 1 of 9


 1   James I. McMillan, CBN 68584 Inactive
     4955 Via Lapiz
 2
     San Diego, CA 92122
 3   Office: 858-646-0069
     Direct: 858-412-0058
 4   Fax: 206-600-4582
     Email: jimcmillan@netscape.net
 5
     JAMES I. MCMILLAN, in propria persona
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
                                                            Case No.: 2:20-cv-00564-JAM-EFB
11   James I. McMillan,
                                                            MOTION FOR RECONSIDERATION OF
12                Plaintiff,                                DISMISSALS.
13
                      vs.                                     I. RE: Second Amended Complaint, First and
14                                                          Sixth Claims dismissed without leave to amend
     County of Shasta, a public entity; City of             - 02/22/21;
15   Anderson, a public entity; Anderson Fire
     Protection District, a public entity; Fire Chief        II. RE: Third Amended Complaint - Failure
16   Steve Lowe in his official and individual capacity;    to state a claim as to Fire Chief, Fire District,
17   Anderson Police Officer Kameron Lee in his             Officer Lee and the City of Anderson dismissed
     official and individual capacity; Shasta County        without leave to amend - 10/21/21
18   Sheriff-Coroner Thomas M. Bosenko ret., in his
     individual and official capacities;                           Date: March 1, 2021
19   County Jail Captain Dave Kent, in his individual              Time: 1:30 p.m.
     and official capacity; California Forensic Medical            Crtrm.: 6, 14th Floor
20
     Group, Inc., a California Corporation; Jail Nurse
21   Linda Smith, Jail Nurse Amanda Ream and DOES           Judge: Hon. John A. Mendez.
     1-50; individually, jointly, and severally,
22                                                          Trial Date: None Set
                Defendants.
23

24

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     ///
27
     ///
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       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 2 of 9


 1                                 SHORT PROCEDURAL HISTORY

 2          The Court has heard and decided two sets of 12(b)6 hearings on the respective motions by

 3   the defendants, Anderson Police Officer Kameron Lee and the City of Anderson, and that of Fire

 4   Chief Steve Lowe and the Anderson Fire Protection District - on the Second and Third Amended

 5   Complaints by plaintiff. In the latest, second set of the 12(b)6 motions to dismiss the Court has

 6   dismissed plaintiff’s Third Amended Complaint with prejudice as to each of the above defendants.

 7          Plaintiff’s first amended complaint (ECF no. 9) was filed June 25, 2020, never heard and

 8   was superceded by his second amended complaint.

 9          The plaintiff filed his second amended complaint as to the above defendants on August 12,

10   2020. (ECF no. 20) The Court issued its Order on February 2, 2021, dismissing plaintiff’s claims as

11   to the four above defendants on the plaintiff’s second amended complaint. (ECF no. 38)

12          The plaintiff filed his third amended complaint on May 1, 2021. (ECF no. 43) On October

13   27, 2021, the court ordered dismissal with prejudice of all claims against defendants, Anderson

14   Police Officer Kameron Lee and the City of Anderson, and all claims against Fire Chief Steve

15   Lowe and the Anderson Fire Protection District . (ECF no. 55)

16          The Court approved Plaintiff’s request to extend the time for Plaintiff to file his motion for

17   reconsideration of dismissal (ECF no. 56) to November 24, 2021. (ECF no. 58)

18

19                                                     I.

20             RE: SECOND AMENDED COMPLAINT, FIRST AND SIXTH CLAIMS.

21          Upon the Court’s finding that plaintiff was unable to demonstrate that the charges against

22   him had been invalidated, plaintiff’s First and Sixth causes of actions of the Second Amended

23   complaint were dismissed by this Court on February 1, 2021. (ECF No. 38 Order Granting

24   Defendants’ Motions to Dismiss, First Claim p.11, lines 8-9, and Sixth Claim p.12, lines 24-26 )

25          McMillan was initially charged in the Shasta County Superior Court with a misdemeanor

26   later modified to an infraction in a plea deal with the prosecution accepted by the court. (ECF 50-1,

27   Exhibit A) The Shasta County District Attorney charges against McMillan were dismissed in their

28   entirety by the Shasta County Superior Court on June 21 2021. (ECF 50-1, Exhibit B ) Thus, the

                                                      -2-
       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 3 of 9


 1   limitation on McMillan’s federal claim of an unlawful arrest was no longer barred by Heck. (Heck

 2   v. Humphrey, 512 U.S. 477 (1994). As this court in its order and the Heck Court explained, a

 3   plaintiff “has no cause of action under Section 1983 unless and until the conviction or sentence is

 4   reversed, expunged, invalidated, or impugned by a grant of writ of habeas corpus.” 512 U.S. at 487

 5   (emphasis added.) (ECF 38, p.1, line 27 - p.12, line 3)

 6           In McMillan’s case, as part of the plea deal, judgement was deferred for 12 months. Further,

 7   the terms specified “Upon compliance with the following terms the plea is withdrawn and the case

 8   is dismissed - Obey all laws.” On June 21, 2021, McMillan’s plea was withdrawn and the case was

 9   dismissed by the Shasta County Superior Court. (ECF 50-1, Declaration of McMillan, and Exhibit

10   B)

11           McMillan’s causes of action identified in his Second Amended Complaint (ECF as the First

12   and Sixth Claims were restored on June 21, 2021, with the dismissal of all charges stemming from

13   the McMillan’s seizure (arrest) by Fire Chief Lowe and Officer Lee on the evening of March 8,

14   2019.

15           RE: TWO ADDITIONAL STATE CLAIMS

16           Plaintiff seeks to add two additional state claims to his complaint:

17
             ASSAULT
18           As to Officer Kameron Lee, City of Anderson and DOES 1-50

19           1. Plaintiff incorporates the above allegations of fact and law as though fully set

20   forth herein.

21           2. During the course of plaintiff’s arrest, Officer Lee acted with the intention to

22   cause harmful or offensive contact and did, in fact, cause such contact to occur. Plaintiff

23   reasonably believed that such contact would occur and, in fact, such contact did occur.

24           3. Additionally, and alternatively, Officer Lee also threatened to touch plaintiff in a

25   harmful and/or offensive manner. Plaintiff reasonably believe he would be touched in a

26   harmful manner and was, in fact, touched in such a manner.

27           4. Plaintiff did not consent to Officer Lee’s conduct.

28           5. Plaintiff suffered harm as a direct result of Officer Lee’s actions. Officer Lee

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       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 4 of 9


 1   offended plaintiff’s sense of personal dignity by forcing him to remain sideways in the back of

 2   Lee’s police cruiser without a seatbelt for over twenty minutes. Moreover, Plaintiff suffered

 3   ligament and muscle injuries. Plaintiff suffered injuries to his shoulder, elbow, and knees,

 4   some of which persist to this day. These injuries were the direct result of Officer Lee’s wholly

 5   unnecessary use of force for a non-violent, non-serious offense.

 6          6. Defendants’ conduct was a substantial factor in causing plaintiff’s harm. As a

 7   proximate and legal result of defendants’ breaches, plaintiff has suffered general and special

 8   damages exceeding the minimum jurisdiction of the court.

 9
            BATTERY BY POLICE OFFICER
10          As to Officer Kameron Lee, City of Anderson, and DOES 1-50

11          1. Plaintiff incorporates the above allegations of fact and law as though fully set

12   forth herein.

13          2. During the course of plaintiff’s arrest, Officer Lee intentionally touched Plaintiff.

14          3. Officer Lee used excessive force to arrest plaintiff. This is apparent when

15   considering that: (1) Plaintiff’s age; (2) the non-violent nature of the alleged offenses; (3) the

16   triviality of the alleged offenses; (4) the complete lack of physical resistance from Plaintiff;

17   (5) the obvious discomfort and pain plaintiff suffered as a result of Officer Lee’s actions. This

18   list of factors is not exhaustive and discovery will likely uncover further factors.

19          4. Plaintiff did not consent to Officer Lee’s use of force.

20          5. Plaintiff suffered harm as a direct result of Officer Lee’s actions. Specifically,

21   Plaintiff suffered a ligament and joint injuries. Plaintiff suffered injuries to his shoulders, arm

22   and knee, some injuries of which persist to this day. These injuries were the direct result of

23   Officer Lee’s wholly unnecessary use of force for a non-violent, non-serious offense.

24          6. Defendants’ conduct was a substantial factor in causing plaintiff’s harm. As a

25   proximate and legal result of defendants’ breaches, plaintiff has suffered general and special

26   damages exceeding the minimum jurisdiction of the court.

27

28

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       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 5 of 9


 1

 2                                              CONCLUSION

 3          The charges against McMillan in the Shasta County Superior Court have been withdrawn

 4   and dismissed in their entirety. As far as state law is concerned, McMillan has not committed any

 5   crime. The same result as if McMillan had been tried and found innocent. Thus, Heck v.

 6   Humphrey is no longer applicable. McMillan requests that the court allow amendment to his

 7   complaint incorporating the allegations in plaintiff’s First and Sixth causes of actions of the Second

 8   Amended complaint dismissed by the Court on account of the conflict imposed by the holding in

 9   Heck v. Humphrey.

10          Further, McMillan seeks the Court’s permission to add the two state claims set out above to

11   the complaint:

12          ASSAULT
            As to Officer Kameron Lee, City of Anderson and DOES 1-50
13
     and
14
            BATTERY BY POLICE OFFICER
15          As to Officer Kameron Lee, City of Anderson, and DOES 1-50

16

17                                                    II.

18         RE: THIRD AMENDED COMPLAINT - FAILURE TO STATE A CLAIM AS
           TO FIRE CHIEF, FIRE DISTRICT, OFFICER LEE AND THE CITY OF
19         ANDERSON - DISMISSED WITHOUT LEAVE TO AMEND.

20          In the Court’s Order of October 27, 2021, the Court found that every Federal claim by

21   Plaintiff against Fire Chief Lowe, Anderson Fire Protection District, Officer Lee and the City of

22   Anderson failed to state a claim for relief. The Court dismissed every such claim on that basis

23   except two state claims against Officer Lee and the City of Anderson. Those two state claims were

24   dismissed on the basis that plaintiff failed to obtain authorization from the Court to add the claims.

25          A. Fire Chief Lowe and Officer Lee as Integral Participants.

26          As to plaintiff’s Third Amended Complaint, “TAC,” FIRST CLAIM FOR RELIEF with

27   respect to Fire Chief Lowe, the Court found no facts to support the claim against him by McMillan.

28   However the facts alleged in the 1st claim show Fire Chief Lowe and Officer Lee were integral

                                                       -5-
       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 6 of 9


 1   participants when subjecting McMillan to unwarranted, wrongful, and outrageous intentional

 2   infliction of pain, suffering, and injury all for the purpose of inducing McMillan to sign a citation

 3   for a misdemeanor that neither Officer Lee nor Fire Chief Lowe had witnessed.

 4             Fire Chief Lowe asserts and admits he arrested McMillan in his “Investigative Report” 1

 5   attached as Exhibit C to McMillan’s Docket Item 50-1 Declaration of McMillan:

 6         “I advised D-MCMILLAN that by signing the citation with all of his information
           on it was not an admission of guilt but a promise to appear and he continued to
 7         refuse. D-MCMILLAN then was placed under arrest by me and placed in
           handcuffs by Officer LEE. (Emphasis added)
 8
           D-MCMILLAN was then placed in the back seat of LEEs patrol vehicle.”
 9         MCMILLAN was given several minutes to reconsider his decision to not sign the
           citation. I re contacted D-MCMILLAN while he was seated in the back seat of
10         Officer LEE'S patrol car and asked if he was willing to sign the citation to allow
           him to not to go to jail.”
11

12             Thus, as alleged by McMillan, Fire Chief Lowe arrested McMillan, Officer Lee handcuffed

13   McMillan and put him in the backseat of the Lee’s police cruiser. (ECF 43, Third Amended

14   Complaint, p.5, ¶16)

15             After McMillan was in the backseat of Officer Lee’s police cruiser, Fire Chief Lowe and

16   Officer Lee chitchated for about ten minutes behind Officer Lee’s police cruiser ( while McMillan

17   was laying in pain, handcuffed in the backseat of Officer Lee’s police cruiser. Finally, Fire Chief

18   Lowe opened the backdoor of the cruiser and asked McMillan if he were ready to sign the citation

19   to avoid going to jail. (ECF 43, p. 8, ¶31- ¶32)

20             Thus, both Officer Lee and Fire Chief Lowe acted together, as integral participants, in the

21   arrest and mistreatment of McMillan when McMillan was left painfully handcuffed laying in the

22   back seat of the police cruiser while they chitchatted at the rear of the cruiser. (ECF 43, p. 8, ¶31)

23   When McMillan refused once again to sign the citation, Officer Lee drove McMillan to the Shasta

24   County Jail. (ECF 43, p. 8, ¶32)

25             The arrest by Fire Chief Lowe violated two state laws when he arrested McMillan after

26
           1
27             Lowe’s “Investigative Report” pp. 2-3.
               Docket Item 50-1 Declaration of McMillan in Support of Opposition, Exhibit C,
28

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       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 7 of 9


 1   10 p.m. for a misdemeanor Lowe had not witnessed (Pen. 836(a)(1)) and without a warrant for a

 2   misdemeanor between the hours of 10 p.m. and 6 a.m. (Pen. 840). Moreover, he fabricated central

 3   facts in his “Investigative Narrative” fraudulently submitted to the Shasta County District Attorney

 4   in support of the case brought against McMillan and dismissed June 21, 2021. ( ECF 50-1, Exh. D)

 5               B: State Claims

 6                      1. Seventh State Claim as to Fire Chief Lowe.

 7               The Court failed to recognize that Fire Chief Lowe arrested McMillan, which Fire Chief

 8   Lowe verifies in his “Investigative Narrative” filed with the Shasta County District Attorney’s

 9   office which led to McMillan being charged. In his “Investigative Narrative” Chief Lowe

10   specifically asserts that he arrested McMillan. Moreover, it was clear to McMillan that he was not

11   free to leave when he noticed Fire Chief Lowe preparing a citation then handed him the citation to

12   sign - an arrest.1 , 2

13
                        2. Eighth State Claim of McMillan’s Torture as to Officer Kameron Lee, City
14                         of Anderson, Fire Chief Lowe and the Anderson Fire Prevention District.

15               The Court appears to accept and apply the standard of care in a nursing home to the arrest

16   and mistreatment of McMillan - Cochrum v. Costs Victoria Healthcare, LLC, 25 Cal.App.5th

17   (2018) What nursing home would condone handcuffing and forcing an elderly 77 year old man to

18   dive hands handcuffed behind his back, head first into the back seat of a police cruiser and then

19   slam the door on his feet? McMillan urges that the case cited is inappropriate for the circumstances.

20   Especially since the 77 man had not resisted his arrest in any way.

21               Fire Chief Lowe and Officer Lee were acting as integral participants in the torture of

22   McMillan when McMillan was left suffering in the backseat of the police cruiser with the purpose

23   of causing McMillan to sign the totally bogus citation issued by Fire Chief Lowe and avoid a trip to

24   the Shasta County Jail ten miles away by Officer Lee in the middle of the night. Fire Chief Lowe

25   confirms the issue of avoiding a trip to the county jail when he ask McMillan if he were ready to

26

27           2
            An arrest occurs when a person is no longer free to walk away from a law enforcement
28 officer. United States v. Tungovia, No.CR-17-01648-001-TUC-RM(LAB)

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       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 8 of 9


 1   sign the citation to avoid county jail. (See page 6 above, lines 6-11) All of McMillan’s state law

 2   claims were dismissed as unsupported by this court.

 3                  3. Tenth State Claim - Violation of the Bane Act.

 4          McMillan alleges defendants Kameron Lee and Steve Lowe intentionally interfered with his

 5   civil rights by threats, intimidation, and coercion for the purpose of securing McMillan’s signature

 6   on a citation charging McMillan with an outlandish violation of Health and Safety Code §42400.2.

 7   The Fire Chief submitted an “Investigation Narrative” containing false statements to the Shasta

 8   County District Attorney resulting in McMillan being charged with a misdemeanor in the Shasta

 9   County Superior Court. Ultimately, all charges against McMillan were dismissed.

10                  4. Eleventh State Claim - Negligence Per Se

11          McMillan alleges defendants Kameron Lee’s and Steve Lowe’s violations of the California

12   Penal code §§833-851.90 constituted negligence per se. Moreover, defendant Lee and the City of

13   Anderson’s violations of the use of force provisions of the California Commission on Peace

14   Officer Standards and Training (POST) also constituted negligence per se under California

15   Evidence Code §669. McMillan thus alleges that the violations resulted in injury to McMillan.

16                  5. Twelfth State Claim - Negligence

17          As to Officer Kameron Lee, City of Anderson, Fire Chief Lowe, and Anderson Fire

18   Prevention District and DOES 1-50)

19          Defendants were negligent. Among other things defendants negligently arrested and

20   prosecuted plaintiff on the basis of false allegations by Fire Chief Steve Lowe, failed to

21   implement policies and procedures to ensure that prosecutions based upon false allegations do

22   not occur and wrongful arrests are not undertaken by Anderson police and by Anderson Fire

23   Protection District personnel.

24          Both the Anderson Police Department and the Anderson Fire Protection District

25   have failed to properly train their respective personnel in the protections offered by the Bane

26   Act and failed to implement policies and procedures to ensure that personnel comply with the

27   law. Moreover, Defendant Lee and the City of Anderson’s violations of the use of force

28   provisions of the California Commission on Peace Officer Standards and Training (POST).

                                                       -8-
       Case 2:20-cv-00564-JAM-JDP Document 59 Filed 11/24/21 Page 9 of 9


 1   POST is a statewide commission that oversees and standardizes all police officer training to

 2   ensure minimum guidelines are met on various topics, including the use of force.

 3          As a proximate and legal result of defendants’ breaches, plaintiff has suffered

 4   general and special damages exceeding the minimum jurisdiction of the court.

 5

 6                                 REQUEST FOR LEAVE TO AMEND

 7          Of the complaints and amended complaints filed by Plaintiff in this case, two have been

 8   reviewed and found deficient by the Court - the second and third amended complaints. The Court

 9   allowed the Plaintiff the opportunity to amend most of the causes of action in the Second Amended

10   Complaint. Plaintiff made many changes to the allegations in the Second Amended Complaint

11   (ECF 20) to arrive at the Third Amended Complaint (ECF 43). The Court pointed out instances in

12   the Third Amended Complaint where Plaintiff failed to state a cause of action, in fact, every claim

13   by Plaintiff against the moving parties was found by the Court to fail to state a cause of action.

14          Thus the Court concluded that Plaintiff was incapable of stating a cause of action on the

15   allegations. The Court ruled “As any further amendment would be futile, all of Plaintiff’s state law

16   claims as to Fire Chief Lowe, Anderson Fire Protection District, Officer Lee and the City of

17   Anderson are dismissed with prejudice.”

18          The well-settled law in the Ninth Circuit allows claimants leave to amend unless "it

19   is...'absolutely clear' that [the claimant] could not cure deficiencies by amendment.". See Jackson v.

20   Barnes, 749 F.3d 755, 767 (9th Cir. 2014) (citations omitted); Lopez, 203 F.3d at 1131 (en banc)

21   (holding a pro se litigant must be given leave to amend if it appears at all possible the plaintiff can

22   correct the complaint's defects.)

23

24   November 24, 2021

25                                          /s/James I. McMillan
                                            Plaintiff.
26

27

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